                 IN THE UNITED STATES DISTRICT COURT

             FOR THE MIDDLE DISTRICT OF NORTH CAROLII.(A


UNITED STATES OF AMERICA                              1:21CR180-2

                  v

RACHE JAMAL FORTSON                                  PLEA AGREEMENT


      NOW COME the United States of America, by and through Sandra J

Hairston, Acting United States Attorney for the Middle District of North

Caro1ina, and the defendant, RACHE JAMAL FORTSON,                   in his own person
and through his attorney, James E. Quander, and state as follows:

      1.      The defendant, RACHE JAMAL FORTSON, is presently under

Indictment in case number 1:21CR180-2, which in Count One charges him

with a violation of Title 21, United States Code, Sections 846 and 841@)(1)(A),

conspiracy   to distribute more than 500 grams of a mixture and             substance

containing a detectable amount of methamphetamine; which               in Count   Two

charges him   with a violation   of   Title 21, United States Code, Sections 8a1(a)(1)

and 0o)(1)(C), possessing with intent to distribute a quantity of a mixture and

substance containing a detectable amount of methamphetamine; and which in

Count Three charges him with a violation of Title 18, IJnited States Code,

Sections 922(dQ) and 924(a)(2), felon in possession of a firearm




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      2.     The defendant, RACHE JAMAL FORTSON, will enter a voluntary

plea of guilty to the lesser-included offense of Count One of the Indictment

herein,   a violation of Title 21, United    States Code, Sections 846 and

841&)(1)(8), conspiracy to distribute 50 grams or more of a mixture and

substance containing a detectable amount of methamphetamine. The nature

of this charge and the elements of this charge, which must be proved by the

United States beyond a reasonable doubt before the defendant can be found

guilty thereof, have been explained to him by his attorney.

             a    The defendant, RACHE JAMAL FORTSON, understands

that as to the lesser-included offense of Count One of the Indictment herein,

he shall be sentenced to a term of imprisonment of not less than five years, nor

more than 40 years, a fine not to exceed $5,000,000, or   both. If any person
derived pecuniary gain from the offense, or if the offense resulted in pecuniary

loss to a person other than the defendant, RACHE JAMAL FORTSON, the

defendant may, in the alternative, be fined not more than the greater of twice

the gross gain or twice the gross loss unless the Court determines that

imposition of a fine in this manner would unduly complicate or prolong the

sentencing process. Any sentence imposing a term of imprisonment shall




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impose a term of supervised release of at least four years in addition to such

term of imprisonment.

             b.     The defendant, RACHE JAMAL FORTSON, understands

that because the lesser-included offense of Count One of the Indictment herein

relates to a felony violation involving a iisted chemical, the defendant may be

enjoined from engaging in any transaction involving a listed chemical for not

more than ten years, pursuant to Title 21, United States Code, Section 8a1(e).

             c.     The defendant, RACHE JAMAL FORTSON, further
understands that the sentence to be imposed upon him is within the discretion

of the sentencing court subject to the statutory maximum and mandatory

minimum penalties set forth above. The sentencing court is not bound by the

sentencing range prescribed by the United States Sentencing Guidelines.

Nevertheless, the sentencing court is required to consult the Guidelines and

take them into account when sentencing. In so doing, the sentencing court

will first   calculate, after making the appropriate findings     of fact,   the

sentencing range prescribed by the Guidelines, and then      will consider that
range as well as other relevant factors set forth in the Guidelines and those

factors set forth   in Title   18, United States Code, Section 3553(a) before

imposing the sentence



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            d.     The defendant, RACHE JAMAL FORTSON, understands

that if he is not a citizen of the United States that entering   a plea of   guilty may

have adverse consequences with respect to his immigration status. The

defendant, RACHE JAMAL FORTSON, nevertheless wishes                      to enter a
voluntary plea of guilty regardless of any immigration consequences his guilty

plea might entail, even if such consequence might include automatic removal

and possibly permanent exclusion from the United States. The defendant,

RACHE JAMAL FORTSON, further understands that in the event he is a

naturalized citizen, entering a plea of guilty may result in denaturalization

proceedings being instituted against him leading to his removal and possible

permanent exclusion from the United States.

      3.    By voluntarily pleading guilty to the lesser-included offense of

Count One of the Indictment herein, the defendant, RACHE JAMAL

FORTSON, knowingly waives and glves up his constitutional rights to plead

not guilty, to compel the United States to prove his guilt beyond a reasonable

doubt, not to be compelled to incriminate himself, to confront and cross-

examine the witnesses against him, to have a jury or judge determine his guilt

on the evidence presented, and other constitutional rights which attend a

defendant on trial in a criminal case



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      4.    The defendant, RACHE JAMAL FORTSON, is going to plead

guilty to the lesser-included offense of Count One of the Indictment herein

because he is, in fact, guilty and not because of any threats or promises

      5.    The extent of the plea bargaining in this case is as follows:

            a.     Upon the acceptance by the Court of a guilty plea by the

defendant, RACHE JAMAL FORTSON, to the lesser-included offense of Count

One of the Indictment herein, and at the conclusion of the sentencing hearing

thereon, the United States will not oppose a motion to dismiss the remaining

counts of the Indictment herein as          to the defendant, RACHE JAMAL
FORTSON. This portion of the PIea Agreement is made pursuant to RuIe

11(c)(1XA) of the Federal Rules of Criminal Procedure

            b.     It is understood that if the Court   determines at the time of

sentencing that the defendant, RACHE JAMAL FORTSON, qualifies for a 2-

level decrease in the offense level under Section 3E1.1(a) of the Sentencing

Guidelines and that the offense level prior to the operation of Section 3E1.1(a)

is 16 or greater, then the United States will recommend a decrease in the
offense level    by 1 additional level pursuant to       Section 3E1.1(b)   of   the

Sentencing Guidelines. This portion of the PIea Agreement is made pursuant

to RuIe 11(c)(1)(B) of the Federal Rules of Criminal Procedure.



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            C.        The defendant, RACHtr JAMAL FORTSOI{, agrees that the

substance involved       in the offense alieged in the lesser-included    offense of

Count One of the Indictment herein for which he is accountable is 50 grams or

more of   a mixture or         substance containing    a    detectable amount of

methamphetamine

            d.        The defendant, RACHE JAMAL FORTSON,                    hereby

abandons interest      in, and consents to the official use, destruction, or other

disposition of each item seized and/or maintained by any law enforcement

agency during the course of the investigation, unless such item is specifically

provided for     in   another section of this plea agreement. The defendant,

RACHE JAMAL FORTSON, waives any and all notice of any proceeding to

implement the official use, destruction, or other disposition of such items.

            e         The defendant, RACHE JAMAL FORTSON, waives aI1

rights, whether asserted directly or through a representative, to request or

receive from any department or agency of the United States any record

pertaining to the investigation or prosecution of this case under the authority

of the Freedom of Information Act, 5 U.S.C. S 552, or the Privacy Act of 7974,

5 U.S.C. $ 552a, and     all subsequent amendments thereto.

            f.        RuIe 11(fl of the Federal Rules of Criminal Procedure and

RuIe 410 of the Federal Rules of Evidence ordinarily       limit the admissibility of

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statements made by a defendant during the course of plea proceedings. The

defendant, RACHE JAMAL FORTSON, knowingly and voiuntarily waives the

protections of these rules as it relates to plea proceedings. If the defendant,

RACHE JAMAL FORTSON, pleads guilty and later seeks to withdraw such

guiity plea (or seeks to directly appeal or collaterally attack such conviction),

any statement made at the plea proceedings in connection with such plea, and

any leads derived therefrom, shall be admissible for any and all purposes

               g.   The defendant, RACHE JAMAL FORTSON, entirely waives

his right to collaterally attack his conviction and sentence on any ground and

by any method, including but not limited to a 28 U.S.C. S 2255 motion. The

only exceptions are that the defendant, RACHE JAMAL FORTSON, may

collaterally attack his conviction and sentence if: (1) the court enters a sentence

above the statutory maximum; (2) the court enters a sentence based on an

unconstitutional factor, such as r-ace, religion, national origin, or gender; (3)

the claim is based on ineffective assistance of counsel; or (4) the claim is based

on prosecutorial misconduct not known to the defendant at the time of his

guilty plea.

               h.   The defendant, RACHE JAMAL FORTSON, entirely waives

his right to a direct appeal of his conviction and sentence on any ground

(including any argument that the statute to which the defendant is pleading

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guilty is unconstitutional or that the admitted conduct does not fall within the

scope of   the statute). The only exceptions are that the defendant, RACHE

JAMAL FORTSON, may file a direct appeal of his sentence if (1) the court

enters a sentence above the statutory maximum, (2) the court enters a sentence

based on an unconstitutional factor, such as race, religion, national origin, or

gender; or (3) the government appeals the sentence

      6.     With regard to forfeiture, the United States and the defendant,

RACHE JAMAL FORTSON, agree as follows:

             a     The defendant, RACHE JAMAL FORTSON, knowingiy and

voluntarily consents and agrees to forfeit to the United States any property

constituting or derived from, or used or intended to be used to commit, or to

facilitate the commission of, the offense charged in Count One. The property to

be forfeited includes, but is not limited to, the following:

                   1.    Remington .22 caliber rifle.

The defendant acknowledges that his interest in the foregoing property is

subject to forfeiture based on the offense to which he is pleading guilty.

             b.    The defendant further agrees to waive all interest in any

such asset   in any administrative or judicial forfeiture      proceeding, whether

criminal or civil, state or federal. The defendant agrees to consent to the entry

of orders of forfeiture for such property and waives the requirements of Federal


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Rules of Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture

in the charging instrument, announcement of the forfeiture at sentencing, and

incorporation of the forfeiture in the judgment. Defendant acknowledges that

he understands that the forfeiture of assets is part of the sentence that may be

imposed in this case and waives any failure by the court to advise him of this,

pursuant to Rule 11&)(1)(J), at the time his guilty plea is accepted

              c     The defendant knowingly and voluntarily waives his right to

a   jury trial on the forfeiture of assets. The defendant further knowingly and

voluntarily waives all constitutional, legal and equitable claims, defenses and

challenges   to the forfeiture of assets in any proceeding,     administrative,

criminal or civil, any jeopardy defense or claim of double jeopardy, and any

claim or defense under the Eighth Amendment to the United                States

Constitution.

              d.    The defendant agrees that the forfeiture provisions of this

plea agreement are intended to, and wilI, survive him, notwithstanding the

abatement of any underlying criminal conviction after the execution of this

agreement. The forfeitability of any particular property pursuant to this

agreement shall be determined as      if the defendant had survived, and that
determination shall be binding upon the defendant's heirs, successors and

asslgns.


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             e.      The defendant agrees and understands that                 the

abandonment,       civil administrative forfeiture, civil judicial forfeiture, or
criminal forfeiture of any property shall not be treated as satisfaction of any

assessment, fine, restitution, cost of imprisonment, or any other penalty this

Court may impose upon the defendant in addition to the forfeiture.

      7.     The defendant, RACHE JAMAL FORTSON, agrees that pursuant

to Title 18, United States Code, Section 3613, all monetary penalties, including

restitution imposed by the Court, shall be due immediately upon judgment and

subject to immediate enforcement by the United States. The defendant

agrees   that if the Court imposes a schedule of payments, the schedule of
payments shall be merely a schedule of minimum payments and shall not be a

Iimitation on the methods available to the United States to enforce the
judgment.

      8.     The defend,ant, RACHE JAMAL FORTSON, agrees that his debt

resulting from the criminal monetary penalties due under the criminal

judgment will be submitted to the Treasury Offset Program even           if   he is

current in his payments under any Court imposed payment schedule.

      9.     It   is further understood that the United States and the defendant,

RACHE JAMAL FORTSON, reserve the right to bring to the Court's attention

any facts deemed relevant for purposes of sentencing.


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      10.     The defendant, RACHE JAMAL FORTSON, further understands

and agrees that pursuant to Title 18, United States Code, Section 3013, for any

offense committed on or after October 11, 1996, the defendant shall pay an

assessment to the Court of $100 for each offense to which he is pleading guilty.

This payment shail be made at the time of sentencing by cash or money order

made payable to the Clerk of the United States District         Court. If   the

defendant is indigent and cannot make the special assessment payment at the

time of sentencing, then the defendant agrees to participate in the Inmate

Financial Responsibility Program for purposes of paying such special

assessment.

      11. No agreements,      representations, or understandings have been

made between the parties in this case other than those which are explicitly set




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forth in this PIea Agreement, and none will be entered into unless executed in

writing and signed by all the partj.es.

      This, the   ?1-"t   dav   of *?1          ,2021




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